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                                                                                     United States District Court
                                                                                       Southern District of Texas

                                                                                          ENTERED
                            UNITED STATES DISTRICT COURT                                  July 07, 2017
                             SOUTHERN DISTRICT OF TEXAS                                David J. Bradley, Clerk
                                 HOUSTON DIVISION

SONIA MARGARITA GANGOTENA,                      §
                                                §
        Plaintiff,                              §
VS.                                             §   CIVIL ACTION NO. 4:15-CV-3538
                                                §
BLINN COLLEGE, et al,                           §
                                                §
        Defendants.                             §

                                   ORDER OF DISMISSAL

       Pursuant to the Joint Stipulation of Dismissal filed by the parties (Dkt. No. 49), this case

is DISMISSED WITH PREJUDICE, with each party to bear their own costs.

       It is so ORDERED.

       SIGNED on this 6th day of July, 2017.


                                                 ___________________________________
                                                 Kenneth M. Hoyt
                                                 United States District Judge




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